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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

IN RE:

Shawn Timothy-Mincey                                        Case No.: 19-11799-JKO
Stephanie Suzanne Mincey
       Debtor                 /                             Chapter 7

       EX-PARTE MOTION FOR EXTENSION OF TIME TO COMPLY WITH
                  NOTICE OF FILING REQUIREMENTS


       The Debtor, Shawn Timothy Mincey and Stephanie Suzanne Mincey by and through

undersigned counsel, and moves for the entry of an Order extending the time to comply with

Notice of Filing Requirements, and in support thereof, states as follows:

   1. On February 9, 2019 the Debtor filed a petition for relief under Chapter 7 of the

       Bankruptcy Code.

   2. Pursuant to directive from the Office of the Clerk of the United States Bankruptcy Court

       for the Southern District of Florida, the Debtor is required to file all of Schedules,

       a n d Statement of Financial Affairs on or before February 25, 2019.

   3. Debtor is unable to provide the documents needed for proper preparation of the schedules

       in a timely manner.

   4. The Debtor needs more time to gather the necessary information and documents. The

       §341 Meeting of Creditors has been set for March 13, 2019 at 3:30PM.

       WHEREFORE, Debtor requests the entry of an Order extending time within which to

comply with this Court's Notice of Filing Requirements and to prepare and file schedules, and

declarations for an additional Seven (7) days, and for such other and further relief as this Court

deems just and proper.
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                                  CERTIFICATE OF SERVICE

I HEREBY CERTIFY that the Ex-Parte Motion for Extension of Time was presumed served
via CM/ECF to parties registered in the ECF system on 26th day of February, 2019.

The following is the list of parties who are currently on the list to receive email notice/service
for this case:

Leslie S. Osborne
Chapter 7 Trustee

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Additionally all parties on the attached mailing matrix were served by first class U.S. Mail.


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